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12
                                UNITED STATES DISTRICT COURT
13
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                      EASTERN DIVISION
15
      EMPYREAL ENTERPRISES, LLC,                     Case No. 5:22-cv-00094-JWH-SHK
16    d/b/a EMPYREAL LOGISTICS,                      STIPULATION FOR PARTIAL
17                                                   DISMISSAL OF ACTION WITH
                  Plaintiff,                         PREJUDICE
18
                         v.
19
      UNITED STATES OF AMERICA, et                   Honorable John W. Holcomb
20
      al.,                                           United States District Judge
21
                  Defendants.
22
23
            IT IS HEREBY STIPULATED AND AGREED by and between Empyreal
24
      Enterprises, LLC, d/b/a Empyreal Logistics (“Plaintiff”) and Defendants United States of
25
      America, the U.S. Department of Justice, Attorney General Merrick Garland, the Federal
26
      Bureau of Investigation, Christopher A. Wray, Kristi Koons Johnson, the Drug
27
      Enforcement Administration, and Anne Milgram (hereinafter the “Federal Defendants”)
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                                                 1
     Case 5:22-cv-00094-FWS-SHK Document 76 Filed 04/13/22 Page 2 of 2 Page ID #:910




1     (together, the “parties”), through their respective attorneys, that the above-captioned
2     action is dismissed with prejudice against the Federal Defendants only, pursuant to Rule
3     41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, each side to bear its own costs,
4     fees, and expenses. This Stipulation is not dispositive of the above-captioned action
5     against non-Federal Defendants and only affects the interests of the parties to this
6     Stipulation.
7
8       Dated: April 13, 2022                    KOELLER NEBEKER CARLSON &
                                                 HALUCK, LLP
9
10                                               /s/ David Bass
                                                 DAVID BASS
11                                               Per email authorization 4/13/2022
                                                 Attorneys for Plaintiff
12
13
        Dated: April 13, 2022                    TRACY L. WILKISON
14                                               United States Attorney
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17                                               Chief, General Civil Section

18                                                /s/ Talya M. Seidman*
                                                 TALYA M. SEIDMAN
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                                                 Attorneys for Federal Defendants
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23
      *Pursuant to Local Rule 5-4.3.4(2), the filer attests that all signatories listed, and on
24    whose behalf the filing is submitted, concur in the filing’s content and have authorized
      the filing.
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